      Case 8:21-cv-00555-SDM-CPT Document 161-15 Filed 06/28/22 Page 1 of 8 PageID 12436
       Agency Name                                                        INCIDENT/INVESTIGATION                                               Case#
                                                                                                                                                        12-040177
                        Pasco Sheriff`s Office                                               REPORT                                            Date / Time Reported
  I    ORI                                                                                                                                                 07/31/2012 20:05 Tue
  N                            FL0510000                                                                                                       Last Known Secure
  C
      Location of Incident                                              Gang Relat Premise Type                            Zone/Tract                      06/14/2012 03:00 Thu
  I                                                                                                                                            At Found
  D        6317 EDENMORE AV, New Port Richey FL                                              All Other                          H2                         06/14/2012 06:00 Thu
  E           Crime Incident(s)                                   ( Com ) Weapon / Tools                                                                                      Activity
  N    #1 Burglary Auto, Not Parts/accessories                                                                                                                                  N
  T                                                                           Entry                               Exit                             Security
          810.02
  D           Crime Incident                                      (        ) Weapon / Tools                                                                                    Activity
  A    #2
  T                                                                           Entry                               Exit                             Security
  A
              Crime Incident                                      (        ) Weapon / Tools                                                                                   Activity
       #3
                                                                              Entry                               Exit                             Security

 MO

       # of Victims 1          Type: INDIVIDUAL/ NOT LAW                                    Injury: None                                                  Domestic: N
              Victim/Business Name (Last, First, Middle)                                 Victim of     DOB                  Race Sex Relationship Resident Status    Military
  V       V1 RODRIGUEZ, DOLLY                                                            Crime #                                     To Offender                  Branch/Status
  I                                                                                        1,        Age 54                 W        F Z                      Resident
  C    Home Address                                                                                       Email                                                       Home Phone
  T    6317 EDENMORE AVE , New Port Richey, FL 34653-                                                                                                                    727-846-5732
  I
       Employer Name/Address                                                                                                   Business Phone                         Mobile Phone
  M
                                           FAMILY HOME CARE (NURSE)                                                                      813-453-0340
       VYR          Make          Model           Style         Color                 Lic/Lis                                  VIN

       CODES: V- Victim (Denote V2, V3) WI = Witness IO = Involved Other     RP = Reporting Person (if other than victim)
       Type: INDIVIDUAL/ NOT LAW ENFORCEMENT                                Injury:
  O
  T   Code Name (Last, First, Middle)                                    Victim of     DOB         Race Sex Relationship Resident Status    Military
  H         MATHEWS, DONNA                                               Crime #                                To Offender              Branch/Status
  E
       IO                                                                            Age 40        W F
  R    Home Address                                                                 Email                                          Home Phone
  S    5210 MASSACHUSETTS NEW PORT RICHEY, FL 34652                                                                                                                      727-848-3171
       Employer Name/Address                                                                                                   Business Phone                         Mobile Phone
  I                                              (UNEMPLOYED)                                                                                                            727-834-0528
  N    Type: INDIVIDUAL/ NOT LAW ENFORCEMENT                                                    Injury:
  V
  O   Code Name (Last, First, Middle)                                                    Victim of           DOB            Race Sex Relationship Resident Status    Military
                                                                                         Crime #                                     To Offender                  Branch/Status
  L    IO                                                                                                  Age
  V                                                                                                               17        W        M
  E    Home Address                                                                                       Email                                                       Home Phone
  D    6317 EDENMORE AVE NEW PORT RICHEY, FL 34653                                                                                                                       727-846-5732
       Employer Name/Address                                                                                                   Business Phone                         Mobile Phone

       L = Lost S = Stolen        R = Recovered D = Damaged Z = Seized B = Burned               C = Counterfeit / Forged        F = Found
                                         ("OJ" = Recovered for Other Jurisdiction)
       VI     Status
       # Code Frm/To           Value        OJ QTY                    Property Description                                     Make/Model                              Serial Number
      1      61     S              $1.00          0   UNKNOWN AMOUNT OF LOOSE CHANGE
      1      99     6              $1.00          1   CD - RECORDED INTERVIEW
  P
  R
  O
  P
  E
  R
  T
  Y




       Officer/ID#         MULKEY, R. L. (PAT1, PCU1) (2416)                                                                             Outstanding Stolen Val [Total Stolen]: $1.00 [$1.00]
       Invest ID#          (0)                                                                                    Supervisor             BROCK, T. (JID, SRO) (2409)
Status Complainant Signature                              Case Status
                                                          Cleared By Arrest
                                                                                                                  Case Disposition:
                                                                                                                                                                                Page 1
                                                                                             08/16/2012                  Cleared By Arrest               08/16/2012
       R_CS1IBR                               Printed By: CH1004, CAD                                         Sys#: 782769                                               01/20/2022 15:13
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                           Incident Report Additional Name List
Pasco Sheriff`s Office                                                                                OCA: 12-040177

                                                        Additional Name List

                                                                                               Victim of
     Name Code/#     Name (Last, First, Middle)                                                 Crime #    DOB          Age Race Sex

1)    IO      3      TABOR, MARNIE MARIE                                                                                37   W   F
           Address   6029 DUBLIN DR , NEW PORT RICHEY, FL 34653-                                           H:    727-656-9480
        Empl/Addr    Handshew Insulation                                                                   B:      - -
                                                                                                     Mobile #:   727-326-3693




 R_CS7NC                                          Printed By: CH1004, CAD   01/20/2022 15:13                                 Page 2
         Case 8:21-cv-00555-SDM-CPT Document 161-15 Filed 06/28/22 Page 3 of 8 PageID 12438
                                  INCIDENT/INVESTIGATION REPORT
  Pasco Sheriff`s Office                                                                                                              Case #   12-040177
Status     L = Lost S = Stolen      R = Recovered   D = Damaged   Z = Seized   B = Burned   C = Counterfeit / Forged   F = Found
Codes

         UCR Status           Quantity     Type Measure                    Suspected Type                                          Up to 3 types of activity


 D
 R
 U
 G
 S




         Assisting Officers




         Suspect Hate / Bias Motivated:


                                                             INCIDENT/INVESTIGATION REPORT
Narr. (cont.) OCA: 12-040177                                       Pasco Sheriff`s Office
NARRATIVE




R_CS2IBR                                                           By: CH1004, CAD 01/20/2022 15:13                                                            Page 3
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                          REPORTING OFFICER NARRATIVE                 OCA
Pasco Sheriff`s Office                                                                                12-040177
   Victim                                       Offense                                           Date / Time Reported
      RODRIGUEZ, DOLLY                              BURGLARY AUTO, NOT PARTS/ACCESSORIES            Tue 07/31/2012 20:05




    HTE STATUS: (001) CLEARED BY ARREST
    HTE Department Classification: BURGLARY, AUTO

    ------------------------------CALL-IN REPORT-------------------------------

    Reporting Officer: (2416) - MULKEY, ROBERT
    Added By Employee: (2416) - MULKEY, ROBERT


    VICTIM/WITNESS - DOMESTIC VIOLENCE PACKET ISSUED Y/N: No
    SAO INVESTIGATION DATE: 8/3/12 @ 1600 HOURS
    SUPPORT DOCUMENTS: 1 PC/Complaint Affidavit, 1 Property Receipt, 1
    Written Statement.

    RECONSTRUCTION: On 6/14/12 between 0300 hours and 0600 hours
    the suspect entered the victim`s unlocked vehicle without the
    victim`s knowledge or consent with the intent to commit a crime.
    The suspect entered the vehicle through an unlocked door and removed
    an unknown amount of loose change therefore, depriving the victim of
    personal property. The suspect fled the scene on foot.

    CRIME SCENE: A black, 2003 Honda CRV (VIN SHSRD68463U106201)
    with Florida license plate 354IFL. The CRV was parked in the
    driveway of a single family residence located at 6317 Edenmore Ave.,
    New Port Richey Florida, 34653. The location was on the north side
    of Edenmore Ave. and the fifth residence east from Heather St. The
    incident occured in the Hillandale subdivision.

    INTERVIEW I - Suspect, D             T      , D.O.B.               :

    D        T       denied burglarizing the victim`s vehicle.
    D        said her friend,                  entered the victim`s car
    via an unlocked door and took loose change. D            advised she,
          , and several other friends burglarized approximately 50 other
    vehicles in the Hillandale subdivision the same morning. She could
    not provide any further information at this time.

    INTERVIEW III - Victim, Dolly Rodriguez, D.O.B.                        :

    Dolly Rodriguez said she was unaware her Honda CRV or any of
    her other vehicles were broke into. Dolly said she didn`t know
    anything missing from the CRV but it was possible she was missing
    some change. Dolly said she always locks her vehicles but it was
    possible the CRV was accidentally left unlocked.

    Dolly said know one had permission to enter any of her vehicles
    and remove anything from them. Dolly had no other information.


Reporting Officer: MULKEY, R. L.             Printed By: CH1004, CAD           01/20/2022 15:13                          Page 4
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                          REPORTING OFFICER NARRATIVE                 OCA
Pasco Sheriff`s Office                                                                       12-040177
   Victim                                     Offense                                    Date / Time Reported
      RODRIGUEZ, DOLLY                            BURGLARY AUTO, NOT PARTS/ACCESSORIES     Tue 07/31/2012 20:05


    INVESTIGATION: On 7/20/12, I made contact with D                T
    (suspect) 7124 Cavan Street, New Port Richey. At 2221 hours, I
    arrested D        for residential burglary (case number 12-36350). I
    transported D         to District III and made phone contact with her
    mother, Marnie Tabor (other). Marnie was advised of my investigation
    and of D       `s arrest.

    I read D       her Miranda Rights from my agency card and
    conducted a custodial interview. During the custodial interview
    D        admitted to about 50 auto burglaries in the Hillandale
    subdivision. D        agreed to point out the vehicles that were
    burglarized. D        did not complete a written statement and her

    interview was audio recorded. The interview was impounded as
    evidence on a compact disc and a property receipt was completed.

    On 7/21/12 0125 hours Deputy K. Stevenson and I transported
    D       to the Hillandale subdivision. D        pointed out several
    addresses and vehicles that were burglarized including a black,
    Honda CRV (Florida license plate 354IFL) in the driveway of 6317
    Edenmore Ave., New Port Richey. D            was not arrested at this
    time because more investigation was needed.

    On 7/24/12 at 2027 hours I arrived at 6317 Edenmore Ave., New
    Port Richey and made contact with Dolly Rodriguez (victim) and her
    son, Andreas Delgado (other). Dolly spoke little English and my
    interview with her was translated by Andreas. I photographed the
    CRV and processed it for latent prints with negative results. No
    evidence was located. The photographs were later submitted to
    Forensic Services Section on a compact disc.

    On 7/24/12 at 2332 hours Deputy K. Stevenson had made contact
    with                  (suspect) and transported him to District III.
    Deputy K. Stevenson read          his Miranda Rights from his agency
    card and conducted a interview regarding his related auto burglary
    investigations (case numbers 12-32564, 12-40173 and 12-40196).

    I next conducted a custodial interview with          During the
    custodial interview        admitted to burglarizing several vehicles
    in the Hillandale subdivision.        also admitted to standing by
    while Dolly`s CRV was burglarized and therefore took an active role
    in the auto burglary.        agreed to point out the vehicles that
    were burglarized.         completed a written statement and his
    interview was audio recorded. The interview was impounded as
    evidence on a compact disc and a property receipt was completed.

    At 0116 hours I arrested    for auto burglary. I completed
    a complaint affidavit.    was later transported to the Juvenile
    Assessment Center by Deputy K. Stevenson.


Reporting Officer: MULKEY, R. L.           Printed By: CH1004, CAD   01/20/2022 15:13                           Page 5
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                          REPORTING OFFICER NARRATIVE                 OCA
Pasco Sheriff`s Office                                                                        12-040177
   Victim                                      Offense                                    Date / Time Reported
      RODRIGUEZ, DOLLY                             BURGLARY AUTO, NOT PARTS/ACCESSORIES     Tue 07/31/2012 20:05


    Copies of all support documents were submitted to Records and
    the State Attorney`s Office. A State Attorney`s Office invest was
    scheduled for 8/3/12 at 1600 hours.

    At the time of this investigation it was decided not to
    formally charge D          but to allow the State Attorney`s Office to
    review the case to determine how to proceed. No further action.




Reporting Officer: MULKEY, R. L.            Printed By: CH1004, CAD   01/20/2022 15:13                           Page 6
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                                                             Incident Report Suspect List
Pasco Sheriff`s Office                                                                                                                        OCA: 12-040177


    Name (Last, First, Middle)                                         Also Known As                                        Home Address
1                                                                           MG                                               6627 TRICHEL LN - 1
                                                                                                                             NEW PORT RICHEY INCO, FL 34652
    Business Address                                                                                                         727-232-2729

      DOB              Age         Race    Sex     Eth      Hgt        Wgt            Hair         Eye           Skin       Driver's License / State.
                         17        W       M       N           601          145        BRO          BRO           MED
     Scars, Marks, Tattoos, or other distinguishing features
          TATT RIGH HAND / CAMG; TATT                        BODY / MULTIPLE TATTOOS

    Reported Suspect Detail            Suspect Age                   Race     Sex            Eth     Height                 Weight                      SSN
                                                       17             W           M           N                  509                    130
    Weapon, Type         Feature            Make                  Model                                  Color          Caliber      Dir of Travel
                                                                                                                                     Mode of Travel
    VehYr/Make/Model                           Drs Style                     Color                  Lic/St                            VIN


    Notes                                                                                                  Physical Char
    Hair Length:                                SHORT                                                       Hair Length, Short
    Hair Style:                              STRAIGHT                                                       Build, THIN
    Facial Hair:                             NONE                                                           Hair Facial, Clean Shaven
    Build:                                SLENDER
    Teeth:                                NORMAL

    Name (Last, First, Middle)                                         Also Known As                                        Home Address
2                                                                           BABY DEE; BABY D                                 7208 ADARE DR
      T          ,D
                                                                                                                             NEW PORT RICHEY, FL 34653
    Business Address   UNEMPLOYED, UNEMPLOYED                                                                                727-485-7631

      DOB              Age         Race    Sex     Eth      Hgt        Wgt            Hair         Eye           Skin       Driver's License / State.

                         13        W       F       N           505          145        BRO          BRO           FAR                                FL
     Scars, Marks, Tattoos, or other distinguishing features
       TATT RIGH HAND / OCTAPUS LIL SAVAGE; TATT RIGH ARM / RESPECT, KELSEY; TATT RIGH HIP / VICT; TATT LEFT
       EAR / STAR BEHIND EAR; TATT RIGH ARM / "RESPECT", "KELSEY", HEART; TATT LEFT EAR / STAR; TATT RIGH
    Reported Suspect Detail Suspect Age    Race Sex  Eth    Height        Weight           SSN
                                        13  W    F    N            500           110
    Weapon, Type         Feature            Make                  Model                                  Color          Caliber      Dir of Travel
                                                                                                                                     Mode of Travel
    VehYr/Make/Model                           Drs Style                     Color                  Lic/St                            VIN


    Notes                                                                                                  Physical Char
    Hair Length:                               LONG                                                         Hair Length, Medium
    Hair Style:                             STRAIGHT                                                        Hair Facial, Clean Shaven
    Facial Hair:                            NONE                                                            Hair Length, Long
    Build:                                MEDIUM                                                            Build, MEDIUM
    Teeth:                                NORMAL




R_CS8IBR                                                     Printed By: CH1004, CAD                01/20/2022 15:13                                           Page 7
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                                                  Incident Report Related Property List
 Pasco Sheriff`s Office                                                                                              OCA: 12-040177




     Property Description                                                    Make                        Model                       Caliber
 1
     UNKNOWN AMOUNT OF LOOSE CHANGE
     Color                        Serial No.                         Value                        Qty                Unit     Jurisdiction
                                                                                          $1.00            0.000                    Locally
     Status                       Date                 NIC #                    State #                 Local #              OAN
              Stolen                     06/14/2012
     Name (Last, First, Middle)                                                            DOB                     Age      Race         Sex
      * No name *
     Notes
        HTE Property Description:UNKNOWN AMOUNT OF LOOSE CHANGE

     Property Description                                                    Make                        Model                       Caliber
 2
     CD - RECORDED INTERVIEW
     Color                        Serial No.                         Value                        Qty                Unit     Jurisdiction
                                                                                          $1.00            1.000                    Locally
     Status                       Date                 NIC #                    State #                 Local #              OAN
              Seized                     06/14/2012
     Name (Last, First, Middle)                                                            DOB                     Age      Race         Sex
      * No name *
     Notes
        HTE Property Description:CD - RECORDED INTERVIEW




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